                          Case 18-20179              Doc 4        Filed 04/04/18 Entered 04/04/18 08:51:12                                Desc Main
    Fill in this information to identify your case:                 Document     Page 1 of 10
                                                                                                                         Check if this is a modified Plan



    Debtor 1              Charles Pappas                                                                                             Modified Plan

                                                                                                                              (e.g., 1st, 2nd)
    (Spouse, if filing)
                                                                                                                     All modified plan sections must be
                                                                                                                     identified here:
    Debtor 2


    United States Bankruptcy Court for the District of Maine

    Case No.         18-20179

    (If known)




      Maine Bankruptcy Form 2

     __________________________________________________


     Chapter 13 Plan                                                                                                                                 12/17



Part 1:            Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the option
                           is appropriate in your circumstances. Plans that do not comply with local rules and judicial rulings may not be confirmable.

                           In the table below, you must check each box that applies.


To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney,
                           you may wish to consult one.
                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation within
                           the time specified in the notice of hearing to consider confirmation (which may be sent to you separately). The Bankruptcy Court may confirm
                           this plan without further notice if no timely objection to confirmation is filed.

The table below may be of particular importance to creditors. Debtor(s) must check only one box on each line. If an item is checked as “Not Included” or if both
boxes for an item are checked or if no boxes for an item are checked, the provision will be ineffective if set out later in the plan.


1.1         A limit on the amount of a secured claim, set out in § 3.2, which may result in a partial                      Included                   Not Included
            payment or no payment at all to the secured creditor.


1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out                    Included                   Not Included
            in § 3.4.


1.3         Nonstandard provisions, set out in Part 8.
                                                                                                                          Included                    Not Included


L




                                                                               Page 1 of 10
                   Case 18-20179               Doc 4
                                               Filed 04/04/18 Entered 04/04/18 08:51:12                                              Desc Main
Part 2:         Plan Payments and Length of Plan Document     Page 2 of 10

2.1       Petition Date.

          This chapter 13 case started on      Apr 3, 2018            . Insert the date on which the chapter 13 petition was filed or the date on which the
          case was converted to a chapter 13 case.

2.2       Applicable Commitment Period.
          The applicable commitment period in this case is    36     months. The applicable commitment period is either 36 months or 60 months.
          The applicable commitment period for this case can be found on Official Form 122C-1 and should be restated here.


2.3       Debtor(s) will make regular payments to the trustee as follows:

                    Monthly payment amount                     Number of months           Beginning date

             +
                       $150.00                                   36                          May 3, 2018
             -

          If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the distributions
          specified in this plan.

2.4       Regular payments to the trustee will be made from future income in the following manner:
          Check all that apply.

                   Debtor(s) will make payments directly to the trustee.

                   Debtor(s) will make payments to the trustee pursuant to a payroll deduction order. Prior to the entry of a payroll deduction order,
                   the Debtor(s) will make payments directly to the trustee.

                   Other (specify method of payment):




2.5       Income Tax Refunds.
          Check one.

                    Debtor(s) will also pay to the trustee, as additional plan contributions, all state and federal income tax refunds (in the aggregate) in
                    excess of $1,500 per year per debtor. All such excess tax refunds must be paid to the trustee within 14 days after receipt.

                   Debtor(s) will treat income tax refunds as follows:




2.6       Additional Payments.
          Check one.

                  None. If "None" is checked, the rest of § 2.6 need not be completed.

                   Debtor(s) will make additional payments to the trustee from other sources, as specified below. Describe the source, estimated
                   amount, and date of each anticipated payment.


                                                                                                                   Date of additional
                       Source                                                      Estimated amount
                                                                                                                   payment


            +

            -

2.7       The total amount of estimated payments to the trustee provided for in §§ 2.3 and 2.6 is              $5,400.00




                                                                           Page 2 of 10
                         Case 18-20179                 Doc 4       Filed 04/04/18 Entered 04/04/18 08:51:12                                Desc Main
Part 3:            Treatment of Secured Claims                       Document     Page 3 of 10
3.1            Maintenance of payments and cure of default, if any, under 11 U.S.C. § 1322(b)(5).
               Check one.

                         None. If “None” is checked, the rest of § 3.1 need not be completed.


                         The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                         required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by
                         the trustee or by the debtor(s) directly, as specified below. If the debtor(s) will disburse the current contractual installment payments
                         directly, then all such payments will be made beginning with the first such payment due after the petition date, and the debtor(s) will
                         make the current contractual installment payments prior to the filing of a proof of claim by the creditor.

                         Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated.

                         In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling as to the current installment payment
                         and arrearage. Unless otherwise ordered by the Court, the amounts listed on a proof of claim filed before the filing deadline under
                         Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and arrearage.




                                                                    Current                            Interest                                           Estimated total
                                                                 installment         Amount of          rate on  Total amount of Monthly plan             payments by
                   Name and address
                                                Collateral         payment           arrearage        arrearage interest (if any) payment on              trustee
                      of creditor
                                                                  (including           (if any)            (if                    arrearage               (if any)
                                                                    escrow)                          applicable)



      +
                                                               Disbursed by:
      -                                                           Trustee
                                                                  Debtor(s)
                                                                        Clear



Insert additional claims as needed.
3.2            Request for valuation of security, payment of certain secured claims, and bifurcation of claims under 11 U.S.C. § 506(a).
               Check one.

                         None. If "None" is checked, the rest of § 3.2 need not be completed.

                     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                         The debtor(s) request, under 11 U.S.C. § 506(a) and Fed. R. Bankr. P. 3012(b), that the Court determine that the amount(s) of the
                         secured claim(s) listed below correspond to the amount(s) in the column titled "Amount of secured claim". A request to determine the
                         amount of a secured claim held by a governmental unit may be made only by motion or in a claim objection.

                         If this plan is confirmed as filed and the foregoing request is granted, (i) the amount of each secured claim listed below will be paid in full
                         with interest at the rate stated below; and (ii) to the extent that the total amount of each claim listed below exceeds the amount of
                         the secured claim, such claim shall be treated as unsecured under Part 5 of this plan.

                         Despite the foregoing request under 11 U.S.C. § 506(a) and Fed. R. Bankr. P. 3012(b), the total amount of each claim listed below will
                         be controlled by any timely filed proof of claim and the disposition of any objections thereto.



                               Estimated                                          Amount of                                                                    Estimated
            Name and                                                                                                Total amount              Monthly
                               amount of                         Value of       claims senior    Amount of Interest                                            total of
            address of                           Collateral                                                         of interest               payment to
                             creditor's total                    collateral      to creditor's secured claim rate                                              monthly
             creditor                                                                                               (if any)                  creditors
                                 claim                                               claim                                                                     payments



 +
          Internal Revenue                      All personal
          Service
                             $1,355.00                         $1,355.00        $0.00             $1,355.00       2.00%      $17.00           $96.00            $1,372.00
                                                property
 -

Insert additional claims as needed.



                                                                                Page 3 of 10
3.3
                     Case 18-20179               Doc 4
             Secured claims excluded from 11 U.S.C. § 506.
                                                               Filed 04/04/18 Entered 04/04/18 08:51:12                              Desc Main
                                                                 Document     Page 4 of 10
         Check one.

                       None. If "None" is checked, the rest of § 3.3 need not be completed.


                       The claims listed below were either:


             (a)       incurred within 910 days before the petition date and secured by a purchase-money security interest in a motor vehicle acquired for the
                       personal use of the debtor(s), or

             (b)       incurred within 1 year of the petition date and secured by a purchase-money security interest in any other thing of value.

             These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or by
             the debtor(s) directly, as specified below. Unless otherwise ordered by the Court, the claim amount stated on a timely-filed proof of claim controls
             over any contrary amount listed below. In the absence of a contrary, timely-filed proof of claim, the amounts stated below are controlling.




                                                                                                                                                Estimated total
                                                                                                        Total amount of
                   Name and address of                                                     Interest                           Monthly plan      payments by
                                                  Collateral         Amount of claim                        interest
                        creditor                                                             rate                              payment          trustee
                                                                                                             (if any)
                                                                                                                                                (if any)



        +
                                                                                                                           Disbursed by:
         -
                                                                                                                              Trustee

                                                                                                                              Debtor(s)
                                                                                                                                        Clear


Insert additional claims as needed.

3.4          Lien avoidance.
         Check one.

                       None. If "None" is checked, the rest of § 3.4 need not be completed.

                   The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                       The judicial liens or nonpossessory, non purchase-money security interests securing the claims listed below impair
                       exemptions to which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the
                       Court, the judicial lien or security interest securing the claim listed below will be avoided to the extent that it impairs such
                       exemptions upon entry of the order confirming the plan. The amount of the judicial lien or security interest that is avoided will
                       be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or security interest
                       that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d).

                        If more than one lien is to be avoided, provide the information separately for each lien.




                                                                           Page 4 of 10
                   Case 18-20179                Doc 4        Filed 04/04/18 Entered 04/04/18 08:51:12                                Desc Main
                                                               Document     Page 5 of 10
       Information regarding judicial lien or security                                                                            Treatment of remaining secured
                                                             Calculation of lien avoidance
       interest                                                                                                                   claim


        1. Creditor:                                          a. Amount of lien                              $0.00                Amount of secured claim after
                                                                                                                                  avoidance (line a minus line f)
            Address:
                                                              b. Amount of all other liens                   $0.00                                 $0.00
        Collateral
                                                              c. Value of claimed exemptions                 $0.00
                                                                                                                                  Interest rate (if applicable)

                                                              d. Total of lines a, b and c                   $0.00                                0.00%
        Lien identification (such as judgment date,
        date of lien recording, book and page number)         e. Value of debtors(s)' interest in
                                                              property                                                            Total amount of interest (if any)

                                                              f. Subtract line e from line d                 $0.00                                 $0.00

                                                                                                                                  Monthly payment of secured
                                                             Extent of exemption impairment.
                                                                                                                                  claim
                                                             (Check applicable box):
                                                                                                                                                   $0.00
                                                                 Line f is equal to or greater than line a
                                                                                                                                  Estimated total payments on
                                                             The entire lien is avoided. (Do not complete the next column.)       secured claim

                                                                 Line f is less than line a                                                       $0.00


                                                             A portion of the lien is avoided. (Complete the next column.)

                                                             For each exemption asserted in the calculation above, set
                                                             forth the statutory basis here:




Insert additional claims as needed.

3.5       Surrender of Collateral.
          Check one.

                   None. If "None" is checked, the rest of § 3.5 need not be completed.

                     The debtor(s) elect to surrender the collateral identified below. The debtor(s) request that the stays under 11 U.S.C. § 362(a)
                     and 11 U.S.C. § 1301 be terminated as to that collateral, with the termination of such stays being effective immediately upon
                     confirmation of the plan. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5
                     below.



                               Name and address of creditor                                                    Collateral


             +

              -

Insert additional claims as needed.

3.6       Relief from Stay.
          If relief from the automatic stay imposed by 11 U.S.C. § 362(a) is ordered as to any item of collateral listed in §§ 3.1, 3.2, 3.3, or 3.4 then,
          unless otherwise ordered by the Court, when the relief from the automatic stay becomes effective, all payments under this plan as to that
          collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan.



                                                                          Page 5 of 10
3.7
                    Case 18-20179
          Lien Retention.
                                               Doc 4        Filed 04/04/18 Entered 04/04/18 08:51:12                                 Desc Main
                                                              Document     Page 6 of 10
          The holder of any allowed secured claim provided for by the plan in §§ 3.2, 3.3, or 3.4 will retain the holder's lien(s) on all property
          interest(s) of the debtor(s) or the estate(s) until the earlier of:

          (a)         payment in full of the underlying debt determined under non-bankruptcy law, or

          (b)         discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
                      creditor.

          In addition, if this chapter 13 case is dismissed or converted without the completion of the plan, all such liens will be retained by the
          holders of such liens to the extent recognized by applicable nonbankruptcy law.


Part 4:         Treatment of Fees and Priority Claims
4.1       General.
          Trustee's fees and all allowed expenses and allowed claims having priority under 11 U.S.C. § 507(a), including domestic support obligations other than
          those treated in § 4.5, will be paid by the trustee in full without post-petition interest.
4.2       Trustee’s Fees.
          Trustee's fees may change during the course of the case but are estimated to be        10.00%      of plan payments. During the plan term, they
          are estimated to total $540.00       .

4.3       Attorney Fees.

          The estimate of the total attorney fees and expenses for the debtor(s) for the chapter 13 case is $8,000.00         . Before the
          beginning of the chapter 13 case, the attorney received payments or retainers in the total amount of $5,000.00          . The difference
          between the estimate and the payments and/or the retainers is $3,000.00          . The last amount specified in this § 4.3 should be
          included in the Exhibit to this plan.


4.4       Priority claims other than attorney fees and those in § 4.5.
          Check one.

                     None. If “None” is checked, the rest of § 4.4 need not be completed.

                     The debtor(s) estimate the total amount of priority claims (exclusive of attorney fees and expenses and domestic support obligations
                     treated in § 4.5) to be                       .

4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
          Check one.

                    None. If “None” is checked, the rest of § 4.5 need not be completed.

                     The priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a governmental
                     unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires that payments in
                     § 2.3 be for a term of 60 months. See 11 U.S.C. § 1322(a)(4).


                                 Name and address of creditor                                  Amount of claim to be paid


                +

                -

Insert additional claims as needed.

Part 5:         Treatment of Nonpriority Unsecured Claims
5.1       Nonpriority unsecured claims not separately classified.

          If the estate(s) of the debtor(s) were liquidated under chapter 7 on the effective date of this plan, the value of property that would be
          distributed to the holders of allowed nonpriority unsecured claims would be approximately $0.00                  .

          Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata shares of the sum of (a)      $488.00         and
          (b) any funds remaining after all other disbursements provided by this plan have been made.

          Notwithstanding the foregoing, the holder of a “small claim” may be paid promptly at the discretion of trustee. The term “small claim” means (i)
          any allowed nonpriority unsecured claim that is $50.00 or less; or (ii) any allowed nonpriority unsecured claim greater than $50.00 for which the
          pro rata dividend under this § 5.1 would be less than $50.00. With respect to (i), the trustee may pay all such small claims in full. With respect to
          (ii), the trustee is authorized to pay a dividend of $50.00 to each such small claim.




                                                                         Page 6 of 10
                   Case 18-20179              Doc 4       Filed 04/04/18               Entered 04/04/18 08:51:12                   Desc Main
5.2                                                    Document
          Maintenance of payments and cure of any default                  Page 7
                                                          on nonpriority unsecured    of 10
                                                                                   claims.
          Check one.

                   None. If “None” is checked, the rest of § 5.2 need not be completed.


                    The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed
                    below on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or by the
                    debtor(s) directly, as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the
                    trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


                                                                                                                  Estimated total
                                                                    Current installment       Amount of arrearage
                              Name and address of creditor                                                        payments by trustee
                                                                         payment                  to be paid
                                                                                                                  (if any)

              +
                                                                  Disbursed by:
              -
                                                                      Trustee

                                                                      Debtor(s)
                                                                                      Clear


Insert additional claims as needed.
5.3       Other separately classified nonpriority unsecured claims.
          Check one.

                    None. If “None” is checked, the rest of § 5.3 need not be completed.

                    The nonpriority unsecured claims listed below are also separately classified and will be treated as follows:



                                                         Basis for separate                             Interest        Total amount of
                                                                                  Amount to be paid                                         Estimated total
                      Name and address of creditor       classification and                              rate (if            interest
                                                                                    on the claim                                            amount of payments
                                                             treatment                                 applicable)       (if applicable)



             +

              -

Insert additional claims as needed.

Part 6:      Executory Contracts and Unexpired Leases
6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
          and unexpired leases are rejected.
          Check One

                    None. If “None” is checked, the rest of § 6.1 need not be completed.



                    Assumed items. Current installment payments will be disbursed either by the trustee or by the debtor(s) directly, as specified below,
                    subject to any contrary Court order or rule. Arrearage payments will be disbursed by the trustee.




                                                                       Page 7 of 10
                     Case 18-20179              Doc 4        Filed 04/04/18 Entered 04/04/18 08:51:12 Desc Main
                                                               Document     Page 8 of 10      Treatment of
                                                   Description of             Current            Amount of             arrearage      Estimated total
                      Name and address of
                                                 leased property or         installment          arrearage to be    (refer to other   payments by trustee
                           creditor
                                                executory contracts          payments            paid               plan section if   (if any)
                                                                                                                      applicable)


            +
                                                                        Disbursed by:
             -
                                                                           Trustee

                                                                           Debtor(s)
                                                                                         Clear

Insert additional contracts or leases as needed.

Part 7:          Section 1326 Payments, Vesting, and Post-Confirmation Borrowing
7.1       Payments under 11 U.S.C. § 1326(a)(1)(B) and (C).

                     None. If “None” is checked, the rest of § 7.1 need not be completed.


                     The estimated payments described in § 2.7 include amounts intended by the debtor(s) to serve as either post-petition lease
                     payments under 11 U.S.C. § 1326(a)(1)(B), adequate protection payments under 11 U.S.C. § 1326(a)(1)(C), or both. To the extent
                     authorized by local rule or other order of the Court, the trustee will, prior to confirmation of this plan, disburse post-petition lease
                     payments or adequate protection payments to the following creditors:

                                                                                                                       Amount of lease or
                            Plan section                    Name and address of creditor
                                                                                                                   adequate protection payment


                 +

                 -

Insert additional provisions as needed.

7.2       Vesting of Property of the Estate.

          Property of the estate will vest in the debtor(s) upon entry of a discharge under 11 U.S.C. § 1328, unless otherwise specified in Part 8 below.

7.3       Post-Confirmation Borrowing by Debtor(s).

          After confirmation of the plan, the debtor(s) may incur debt to purchase a motor vehicle for personal, family, or household use with the prior
          written consent of the trustee. If the prior written consent of the trustee is obtained for the debt, no order of the Court with respect to the
          borrowing is necessary. Nothing in this § 7.3 prohibits the debtor(s) from seeking an order of the Court authorizing post-confirmation
          borrowing.


Part 8:          Nonstandard Plan Provisions
8.1       Nonstandard Plan Provisions.

                       None. If “None” is checked, the rest of § 8.1 need not be completed.


          Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision deviating
          from or not otherwise included in Maine Bankruptcy Form 2. Nonstandard provisions set out elsewhere in this plan are void and
          ineffective.

          The following plan provisions will be effective only if the applicable box in Part 1 of this plan is checked.




                                                                          Page 8 of 10
                    Case 18-20179            Doc 4        Filed 04/04/18 Entered 04/04/18 08:51:12              Desc Main
Part 9:       Signature(s)                                  Document     Page 9 of 10
9.1       Signatures of Debtor(s) and Attorney.
The signatures of the debtor(s) and the attorney, if any, must appear below.




  / s / Charles Pappas
           Signature of Debtor 1                                                      Signature of Debtor 2

           Date:      Apr 3, 2018                                                     Date:




 / s / Jeffrey P. White
      Signature of Attorney for Debtor(s)


      Date:
                   Apr 3, 2018


 By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) certify, or certifies, that
 the wording and order of the provisions in this chapter 13 plan are identical to those contained in Maine Bankruptcy Form 2,
 other than any nonstandard provisions included in Part 8.




                                                                       Page 9 of 10
              Case 18-20179                 Doc 4
                              Filed 04/04/18 Entered 04/04/18 08:51:12 Desc Main
                               Document     Page 10 of 10
EXHIBIT: Estimated Payments by Debtor(s) and Estimated Disbursements by Trustee

The sum of the estimated payments by the debtor(s) under this plan to the trustee, excluding tax refunds, is:   $5,400.00
Insert the total of the estimated payments in Part 2, § 2.7.

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out below and
the actual plan terms, the plan terms control.



   a.     Maintenance and cure payments on secured claims (Part 3, § 3.1 total)                                                       $0.00


   b.     Modified secured claims (Part 3, § 3.2 total)                                                                               $1,372.00


   c.     Secured claims excluded from 11 U.S.C. § 506 (Part 3, § 3.3 total)                                                          $0.00



   d.     Judicial liens or security interests partially avoided (Part 3, § 3.4 total)                                                $0.00


   e.     Trustee's fees (Part 4, § 4.2 total)                                                                                        $540.00


   f.     Attorney fees (Part 4, § 4.3 last amount specified)                                                                         $3,000.00


   g      Priority claims (Part 4, § 4.4 total)                                                                                       $0.00


   h.     Domestic support obligations owed or assigned to government (Part 4, § 4.5 total)                                           $0.00


   i.     Nonpriority unsecured claims (Part 5, § 5.1, amount of payments)                                                            $488.00


   j.     Maintenance and cure payments on unsecured claims (Part 5, § 5.2 total)                                                     $0.00


   k.     Separately classified unsecured claims (Part 5, § 5.3 total)                                                                $0.00


   l.     Executory contracts and unexpired leases (Part 6, § 6.1 total)                                                              $0.00


   m.     Nonstandard plan provisions (Part 8)                                                                                        $0.00


          Total of Lines a - m                                                                                                     $5,400.00




                                                                                                                                     Print to PDF

                                                                                                                               In order to upload to
                                                                                                                               CM/ECF you must print
                                                                                                                               this document to PDF.




                                                                       Page 10 of 10
